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                                 EXHIBIT C
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   Electronically FILED by Superior Court of California, County of Los Angeles on 01/21/2022 12:17 PM Sherri R. Carter, Executive Officer/Clerk of Court, by A. Love,Deputy Clerk


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                           Facsimile: 602.417.2932
                      4    Email: James.Wu@quarles.com
                      5    Attorneys for Defendant
                           Molson Coors Beverage Company USA LLC
                      6    fka MillerCoors LLC
                      7

                      8                                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9                                    COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                    10     NANCY COPFER, an individual,                                               CASE NO. 21STCV46244
                    11                                  Plaintiff,                                    DEFENDANT’S ANSWER AND
                    12                                                                                AFFIRMATIVE DEFENSES TO
                             vs.
                                                                                                      PLAINTIFF’S COMPLAINT FOR
                    13     MOLSON COORS BEVERAGE                                                      DAMAGES
                           COMPANY aka MILLERCOORS LLC;
                    14     and DOES 1 to 10,                                                          Judge Stephanie M. Bowick
                    15                                  Defendants.                                   Department 19, Stanley Mosk Courthouse
                    16

                    17
                                                                                                                                                                                    1
                    18                 Defendant Molson Coors Beverage Company USA LLC fka MillerCoors LLC

                    19     (“Defendant”), hereby answers the Complaint for Damages (“Complaint”) of Plaintiff Nancy

                    20     Copfer (“Plaintiff”), and each and every cause of action alleged therein as follows:

                    21                                                               GENERAL DENIAL

                    22                 Pursuant to the provisions of Code of Civil Procedure § 431.30, Defendant denies each and

                    23     every allegation contained in Plaintiff’s Complaint, and further denies that Plaintiff has been

                    24     damaged at all or in any sum whatsoever, or that Plaintiff is entitled to penalties, equitable or

                    25     injunctive relief, compensatory damages, restitution, attorneys’ fees, prejudgment interest, costs of

                    26     suit, or any other relief of any kind whatsoever.

                    27
                           1
                             The proper name of Defendant Molson Coors Beverage Company is Molson Coors Beverage Company USA LLC,
                    28     formerly known as MillerCoors LLC.
Q UARLES & B RADY LLP
   ATTORNEYS AT LAW
                                                                         CASE NO. 21STCV46244
     WALNUT CREEK
                                                            DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
                                                                TO PLAINTIFF’S COMPLAINT FOR DAMAGES
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                      1                                       AFFIRMATIVE DEFENSES
                      2            Without admitting any of the conduct alleged by Plaintiff, or assuming any burden of proof,
                      3   Defendant asserts the following affirmative defenses to the Complaint, and each and every cause
                      4   of action contained therein.
                      5                                   FIRST AFFIRMATIVE DEFENSE
                      6                                   (Failure to State a Cause of Action)
                      7            As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                      8   alleges that Plaintiff’s Complaint fails to state facts sufficient to constitute a viable cause of action
                      9   against Defendant.
                    10                                   SECOND AFFIRMATIVE DEFENSE
                    11                                           (Statute of Limitations)
                    12             As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    13    alleges that Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of limitations,
                    14    including but not limited to, Government Code §§ 12960 and 12965; and Code of Civil Procedure
                    15    § 338.
                    16                                    THIRD AFFIRMATIVE DEFENSE
                    17                                            (Equitable Doctrines)
                    18             As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    19    alleges that Plaintiff’s claims are barred, in whole or in part, by various equitable doctrines,
                    20    including laches, estoppel, waiver, unclean hands, collateral estoppel, and/or res judicata.
                    21                                   FOURTH AFFIRMATIVE DEFENSE
                    22                                       (Failure to Mitigate Damages)
                    23             As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    24    alleges that Plaintiff is barred from claiming injuries or damages because Plaintiff caused such
                    25    injuries or damages and/or has failed to mitigate her damages, if any.
                    26                                    FIFTH AFFIRMATIVE DEFENSE
                    27                                    (After Acquired Evidence Doctrine)
                    28             As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Plaintiff’s
Q UARLES & B RADY LLP                                                     -2-
   ATTORNEYS AT LAW
                                                             CASE NO. 21STCV46244
     WALNUT CREEK
                                                DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
                                                    TO PLAINTIFF’S COMPLAINT FOR DAMAGES
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                      1   Complaint is barred, in whole or in part, based on after-acquired evidence Defendant has presently
                      2   and/or may acquire during the course of litigation.
                      3                                  SIXTH AFFIRMATIVE DEFENSE
                      4                                            (Undue Hardship)
                      5          As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Plaintiff’s
                      6   Complaint is barred, in whole or in part, because any requests Plaintiff made for accommodation
                      7   would have imposed an undue hardship on Defendant.
                      8                                SEVENTH AFFIRMATIVE DEFENSE
                      9                               (Failure to Exhaust Internal Procedures)
                    10           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    11    alleges that Plaintiff’s Complaint is barred because Plaintiff failed to exhaust internal, contractual,
                    12    and/or administrative remedies.
                    13                                  EIGHTH AFFIRMATIVE DEFENSE
                    14                                         (Pre-Existing Condition)
                    15           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    16    alleges that to the extent Plaintiff suffered any symptoms of mental, physical or emotional distress,
                    17    such injuries were the result of a pre-existing, psychological or physical disorder or alternative
                    18    concurrent cause, and not the result of any act or omission on the part of Defendant.
                    19                                   NINTH AFFIRMATIVE DEFENSE
                    20                                          (Business Justification)
                    21           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    22    alleges that its activities undertaken with respect to Plaintiff, if any, were privileged or otherwise
                    23    justified, as such activities were proper, fair and legitimate business activities and/or due to
                    24    business-related reasons which were neither arbitrary, capricious nor unlawful, and which were
                    25    undertaken to protect Defendant’s economic interests and/or relations.
                    26                                  TENTH AFFIRMATIVE DEFENSE
                    27                            (Reasonable Preventative or Corrective Action)
                    28           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
Q UARLES & B RADY LLP                                                   -3-
   ATTORNEYS AT LAW
                                                             CASE NO. 21STCV46244
     WALNUT CREEK
                                                DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
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                      1   alleges that Plaintiff’s claims are barred because Defendant, at all times relevant to Plaintiff’s
                      2   Complaint, had proper and valid policies and procedures in place to take reasonable care in
                      3   preventing and/or promptly correcting any workplace discrimination from occurring, which
                      4   Plaintiff failed to utilize. Reasonable use of Defendant’s policies and procedures by Plaintiff would
                      5   have prevented all or at least some of the harm suffered, if any.
                      6                              ELEVENTH AFFIRMATIVE DEFENSE
                      7                      (Duty to Provide Reasonable Accommodation Satisfied)
                      8          As a separate defense to the third cause of action alleged in Plaintiff’s Complaint, Defendant
                      9   alleges that it satisfied any obligation it had to provide a reasonable accommodation.
                    10                                TWELFTH AFFIRMATIVE DEFENSE
                    11                             (Failure to Engage in the Interactive Process)
                    12           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    13    alleges that Plaintiff unreasonably failed to interact with Defendant regarding any perceived need
                    14    for an accommodation and obstructed Defendant’s good-faith attempt to interact with Plaintiff to
                    15    ascertain whether such accommodation was needed.
                    16                              THIRTEENTH AFFIRMATIVE DEFENSE
                    17                                         (No Punitive Damages)
                    18           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    19    alleges that Plaintiff’s Complaint, and each and every cause of action set forth therein alleged
                    20    against Defendant, fails to state facts sufficient to the recovery of punitive damages or exemplary
                    21    damages or to show that Defendant acted with malice, oppression, or fraud, so as to warrant an
                    22    award of punitive damages under California Code of Civil Procedure § 3294.
                    23                             FOURTEENTH AFFIRMATIVE DEFENSE
                    24                      (Legitimate Non-Discriminatory/Non-Retaliatory Reasons)
                    25           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    26    alleges that any and all employment actions taken with respect to Plaintiff were based on one or
                    27    more legitimate, non-discriminatory, or non-retaliatory reasons.
                    28
Q UARLES & B RADY LLP                                                      -4-
   ATTORNEYS AT LAW
                                                            CASE NO. 21STCV46244
     WALNUT CREEK
                                               DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
                                                   TO PLAINTIFF’S COMPLAINT FOR DAMAGES
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                      1                               FIFTEENTH AFFIRMATIVE DEFENSE
                      2                                                   (Set-Off)
                      3           As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                      4   alleges that it is entitled to a set-off of any benefits awards or judgments Plaintiff receives or has
                      5   received from workers’ compensation, unemployment insurance compensation, and from any of
                      6   Defendant’s benefit plans, or from other employers or governmental benefits for injuries or
                      7   damages alleged, against any award to Plaintiff in this action.
                      8                               SIXTEENTH AFFIRMATIVE DEFENSE
                      9                                                  (Consent)
                    10            As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    11    alleges that any recovery on Plaintiff’s Complaint, or on any purported cause of action alleged
                    12    therein, is barred to the extent that Plaintiff consented to any of the activities and/or conduct alleged
                    13    therein.
                    14                              SEVENTEENTH AFFIRMATIVE DEFENSE
                    15                                                   (No Intent)
                    16            As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    17    alleges that Plaintiffs claims are barred, in whole or in part, to the extent Plaintiff purports to present
                    18    a claim for any intentional tort or any statutory claim requiring intent on the part of the Defendant,
                    19    because Defendant did not act with the requisite intent with respect to the conduct alleged in the
                    20    Complaint, and according, even if some conduct alleged in the Complaint did occur, Plaintiff
                    21    cannot prevail on any such claim.
                    22                               EIGHTEENTH AFFIRMATIVE DEFENSE
                    23                                                 (Good Faith)
                    24            As a separate defense to each cause of action alleged in Plaintiff’s Complaint, Defendant
                    25    alleges that Plaintiff’s claims are barred, in whole or in part, because actions taken with respect to
                    26    Plaintiff’s employment were based on an honest, reasonable, good faith belief in the facts as known
                    27    and understood by Defendant at the time.
                    28
Q UARLES & B RADY LLP                                                        -5-
   ATTORNEYS AT LAW
                                                             CASE NO. 21STCV46244
     WALNUT CREEK
                                                DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
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                      1                              NINETEENTH AFFIRMATIVE DEFENSE
                      2                              (No Attorneys’ Fees and Costs for Plaintiff)
                      3          As a separate defense to each cause of action in Plaintiff’s complaint, Defendant alleges
                      4   that Plaintiff’s Complaint fails to state facts sufficient to support an award of attorneys’ fees and
                      5   costs against Defendant.
                      6                              TWENTIETH AFFIRMATIVE DEFENSE
                      7                                         (Plaintiff Not Disabled)
                      8          As a separate defense to each cause of action in Plaintiff’s complaint, Defendant alleges
                      9   that Plaintiff is not now, nor has Plaintiff ever been, a qualified person with a disability under the
                    10    California Fair Employment and Housing Act and/or other similar law.
                    11                             TWENTY-FIRST AFFIRMATIVE DEFENSE
                    12                                               (Preemption)
                    13           As a separate defense to each cause of action in Plaintiff’s complaint, Defendant alleges
                    14    that to the extent resolution of Plaintiff’s claims require interpretation and application of the
                    15    collective bargaining agreement governing her employment, they are preempted by Section 301 of
                    16    the Labor Management Relations Act and/or barred by the applicable statute of limitations for
                    17    bringing such claims and/or barred by the grievance and arbitration procedure contained in the
                    18    collective bargaining agreement. See 29 U.S.C. §185.
                    19                                       ADDITIONAL DEFENSES
                    20           Defendant does not presently know all of the facts concerning the conduct of Plaintiff and
                    21    Plaintiff’s claims sufficient to state all affirmative defenses at this time. Accordingly, Defendant
                    22    expressly reserves the right to amend this Answer should it later discover facts demonstrating the
                    23    existence of additional affirmative defenses.
                    24                                         PRAYER FOR RELIEF
                    25           WHEREFORE, Defendant prays for judgment from this Court as follows:
                    26           1.      Plaintiff takes nothing by this action;
                    27           2.      That the Complaint be dismissed with prejudice and that judgment be entered
                    28    against Plaintiff in favor of Defendant on each claim;
Q UARLES & B RADY LLP                                                      -6-
   ATTORNEYS AT LAW
                                                            CASE NO. 21STCV46244
     WALNUT CREEK
                                               DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
                                                   TO PLAINTIFF’S COMPLAINT FOR DAMAGES
            Case 2:22-cv-00496-SSS-AS Document 1-1 Filed 01/24/22 Page 69 of 77 Page ID #:75



                      1          3.     That Defendant be awarded its attorneys’ fees and costs of suit herein to the extent
                      2   permitted under applicable law; and
                      3          4.     Such other and further relief as the Court deems appropriate and proper.
                      4   Dated: January 21, 2022                          QUARLES & BRADY LLP
                      5

                      6                                                    By:
                                                                                 James Y. Wu
                      7
                                                                           Attorneys for Defendant Molson Coors
                      8                                                    Beverage Company USA LLC fka MillerCoors
                                                                           LLC
                      9

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Q UARLES & B RADY LLP                                                   -7-
   ATTORNEYS AT LAW
                                                           CASE NO. 21STCV46244
     WALNUT CREEK
                                              DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
                                                  TO PLAINTIFF’S COMPLAINT FOR DAMAGES
            Case 2:22-cv-00496-SSS-AS Document 1-1 Filed 01/24/22 Page 70 of 77 Page ID #:76



                      1                                    CERTIFICATE OF SERVICE
                      2          I am a citizen of the United States and a resident of the State of Arizona, over the age of
                          eighteen years, and not a party to the within action. My business address is Renaissance One, Two
                      3   North Central Avenue, Phoenix, AZ 85004-2391. On January 21, 2022, I caused to be served the
                          following document(s):
                      4
                                         DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
                      5                      TO PLAINTIFF’s COMPLAINT FOR DAMAGES
                      6   On the party stated below by the following means of service:
                      7         By First-Class Mail I am readily familiar with this firm’s practice of collection and
                                 processing correspondence for mailing. Under that practice correspondence is deposited
                      8          with the U.S. Postal Service on that same day with postage thereon fully prepaid at Phoenix,
                                 Arizona in the ordinary course of business. The envelope described above was sealed and
                      9          placed for collection on the date indicated above following ordinary business practices. I
                                 am aware that on motion of the party served, service is presumed invalid if the postal
                    10           cancellation date or postage meter date on the envelope is more than one day after date of
                                 deposit for mailing contained in this affidavit.
                    11
                                By One Legal I caused a true and correct copy of the above-entitled document(s) to be
                    12           served electronically through One Legal to all parties appearing on the One Legal electronic
                                 service list for the above-entitled case, if available.
                    13
                                By Personal Service I caused each such envelope to be given to a courier messenger with
                    14           instructions to deliver each such envelope to the office of the below-referenced attorneys of
                                 record.
                    15
                                By Overnight Courier I caused each such envelope to be placed in a sealed package
                    16           designated by Federal Express and depositing same in an overnight express receptacle
                                 maintained by Federal Express, Phoenix, Arizona, with delivery fees provided for, with
                    17           instructions to be hand delivered to the office of the addressee on the next business day.
                                By Facsimile Fax Number (see below)
                    18
                                Based on a court order or an agreement of the parties to accept electronic service, I caused
                    19           the document(s) to be sent to the person at the electronic service address listed as follows:
                    20            Geoffrey C. Lyon                              glyon@lyonlawyer.com
                                  Lyon Law PC
                    21            3605 Long Beach Blvd., Suite 311              Attorney for Plaintiff
                    22            Long Beach, California 90807

                    23    I declare under penalty of perjury under the laws of the State of Arizona that the foregoing is true
                          and correct and that this declaration was executed on January 21, 2022.
                    24

                    25

                    26                                                  Declarant

                    27

                    28
Q UARLES & B RADY LLP                                                     -8-
   ATTORNEYS AT LAW
                                                            CASE NO. 21STCV46244
     WALNUT CREEK
                                               DEFENDANT'S ANSWER AND AFFIRMATIVE DEFENSES
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                                 EXHIBIT D
            Case 2:22-cv-00496-SSS-AS Document 1-1 Filed 01/24/22 Page 72 of 77 Page ID #:78



                      1   JAMES Y. WU, BAR NO. 213090
                          QUARLES & BRADY LLP
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                          Walnut Creek, CA 94598
                      3   Telephone: 925.658.0300
                          Facsimile: 602.417.2932
                      4   Email: James.Wu@quarles.com
                      5   Attorneys for Defendant
                          Molson Coors Beverage Company USA LLC
                      6   fka MillerCoors LLC
                      7

                      8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9                        COUNTY OF LOS ANGELES, CENTRAL DISTRICT
                    10    NANCY COPFER, an individual,                      CASE NO. 21STCV46244
                    11                       Plaintiff,                     NOTICE TO SUPERIOR COURT AND TO
                    12                                                      ADVERSE PARTY OF REMOVAL OF
                              vs.
                                                                            ACTION TO FEDERAL COURT
                    13    MOLSON COORS BEVERAGE
                          COMPANY aka MILLERCOORS LLC;                      Judge Stephanie M. Bowick
                    14    and DOES 1 to 10,
                                                                            Department 19, Stanley Mosk Courthouse
                    15                       Defendants.
                    16

                    17

                    18    TO THE ABOVE-ENTITLED COURT AND TO PLAINTIFF AND HER ATTORNEY OF

                    19    RECORD:

                    20              PLEASE TAKE NOTICE THAT on January 24, 2022, MOLSON COORS BEVERAGE

                    21    COMPANY USA LLC aka MILLERCOORS LLC 1 (“Defendant”), filed in the United States

                    22    District Court for the Central District of California its Notice of Removal of Action Under 28 U.S.C.

                    23    Section 1441(b)(Diversity). A copy of this Notice of Removal is attached to this Notice as Exhibit

                    24    1, and is served and filed herewith.

                    25              PLEASE TAKE FURTHER NOTICE THAT, pursuant to 28 U.S.C. Section 1445(d), the

                    26    filing of said Notice of Removal of Action in the United States District Court, together with the

                    27    1
                           The proper name of Defendant Molson Coors Beverage Company is Molson Coors Beverage Company USA LLC,
                          formerly known as MillerCoors LLC.
                    28
Q UARLES & B RADY LLP
   ATTORNEYS AT LAW
                                                            CASE NO. 21STCV46244
     WALNUT CREEK
                                        DEFENDANT’S NOTICE TO SUPERIOR COURT AND TO ADVERSE PARTY
                                                OF REMOVAL OF ACTION TO FEDERAL COURT
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                      1   filing of this Notice to the Superior Court and Adverse Party, effects the removal of this action, and
                      2   that this Court is directed to “proceed no further unless and until the case has been remanded,” 28
                      3   U.S.C. Section 1446(d).
                      4
                          Dated: January 24, 2022                            QUARLES & BRADY LLP
                      5

                      6
                                                                             By:
                      7                                                            James Y. Wu
                      8                                                      Attorneys for Defendant Molson Coors
                                                                             Beverage Company USA LLC fka MillerCoors
                      9                                                      LLC
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Q UARLES & B RADY LLP                                                      -2-
   ATTORNEYS AT LAW
                                                           CASE NO. 21STCV46244
     WALNUT CREEK
                                       DEFENDANT’S NOTICE TO SUPERIOR COURT AND TO ADVERSE PARTY
                                               OF REMOVAL OF ACTION TO FEDERAL COURT
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                      1                                    CERTIFICATE OF SERVICE
                      2          I am a citizen of the United States and a resident of the State of Arizona, over the age of
                          eighteen years, and not a party to the within action. My business address is Renaissance One, Two
                      3   North Central Avenue, Phoenix, AZ 85004-2391. On January 24, 2022, I caused to be served the
                          following document(s):
                      4
                                    DEFENDANT’S NOTICE TO SUPERIOR COURT AND TO ADVERSE
                      5                PARTY OF REMOVAL OF ACTION TO FEDERAL COURT
                      6   On the party stated below by the following means of service:
                      7         By First-Class Mail I am readily familiar with this firm’s practice of collection and
                                 processing correspondence for mailing. Under that practice correspondence is deposited
                      8          with the U.S. Postal Service on that same day with postage thereon fully prepaid at Phoenix,
                                 Arizona in the ordinary course of business. The envelope described above was sealed and
                      9          placed for collection on the date indicated above following ordinary business practices. I
                                 am aware that on motion of the party served, service is presumed invalid if the postal
                    10           cancellation date or postage meter date on the envelope is more than one day after date of
                                 deposit for mailing contained in this affidavit.
                    11
                                By One Legal I caused a true and correct copy of the above-entitled document(s) to be
                    12           served electronically through One Legal to all parties appearing on the One Legal electronic
                                 service list for the above-entitled case, if available.
                    13
                                By Personal Service I caused each such envelope to be given to a courier messenger with
                    14           instructions to deliver each such envelope to the office of the below-referenced attorneys of
                                 record.
                    15
                                By Overnight Courier I caused each such envelope to be placed in a sealed package
                    16           designated by Federal Express and depositing same in an overnight express receptacle
                                 maintained by Federal Express, Phoenix, Arizona, with delivery fees provided for, with
                    17           instructions to be hand delivered to the office of the addressee on the next business day.
                                By Facsimile Fax Number (see below)
                    18
                                Based on a court order or an agreement of the parties to accept electronic service, I caused
                    19           the document(s) to be sent to the person at the electronic service address listed as follows:
                    20            Geoffrey C. Lyon                              glyon@lyonlawyer.com
                                  Lyon Law PC
                    21                                                          Attorney for Plaintiff
                                  3605 Long Beach Blvd., Suite 311
                    22            Long Beach, California 90807

                    23    I declare under penalty of perjury under the laws of the State of Arizona that the foregoing is true
                          and correct and that this declaration was executed on January 24, 2022.
                    24

                    25

                    26                                                  Declarant

                    27

                    28
Q UARLES & B RADY LLP                                                     -3-
   ATTORNEYS AT LAW
                                                          CASE NO. 21STCV46244
     WALNUT CREEK
                                      DEFENDANT’S NOTICE TO SUPERIOR COURT AND TO ADVERSE PARTY
                                              OF REMOVAL OF ACTION TO FEDERAL COURT
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                                  EXHIBIT E
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